MANDATE
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                                UNITED STATES COURT OF APPEALS
                                           FOR THE
                                        SECOND CIRCUIT

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      9th day of December, two thousand twenty-two,

      Before:        Guido Calabresi,
                     José A. Cabranes,
                     Richard J. Sullivan,
                            Circuit Judges.
      _________________________________________
       United States of America,

                    Appellee,
                                                           JUDGMENT
       v.
                                                           Docket Nos. 20-3520(L), 20-3789(CON)
       Keith Raniere, also known as Vanguard, and
       Clare Bronfman,

                    Defendants - Appellants,

       Allison Mack, Kathy Russell, Lauren Salzman,
       and Nancy Salzman, also known as Prefect,

                 Defendants.
      _________________________________________

              The appeals in the above captioned case from judgments of the United States District
      Court for the Eastern District of New York were argued on the district court’s record and the
      parties’ briefs. Upon consideration thereof,

              IT IS HEREBY ORDERED, ADJUDGED and DECREED that, for the reasons explained
      in this Court’s opinion and accompanying summary order, the district court’s judgments are
      AFFIRMED.

                                                           For the Court:
                                                           Catherine O’Hagan Wolfe,
                                                           Clerk of Court




MANDATE ISSUED ON 01/03/2023
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         20-3520-cr (L)
         United States v. Raniere




                                                 In the
                        United States Court of Appeals
                                     for the Second Circuit


                                          AUGUST TERM 2021

                                No. 20-3520-cr (L); 20-3789-cr (Con)

                                     UNITED STATES OF AMERICA,
                                              Appellee,

                                                    v.

            KEITH RANIERE, also known as Vanguard, and CLARE BRONFMAN,
                                 Defendants-Appellants,

             ALLISON MACK, KATHY RUSSELL, LAUREN SALZMAN, and NANCY
                         SALZMAN, also known as Prefect,
                                   Defendants. 1



                        On Appeal from the United States District Court
                             for the Eastern District of New York



                                       ARGUED: MAY 3, 2022
                                     DECIDED: DECEMBER 9, 2022

                 1   The Clerk of Court is directed to amend the caption as set forth above.
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         Before: CALABRESI, CABRANES, and SULLIVAN, Circuit Judges.




               Following a jury trial before the United States District Court for
         the Eastern District of New York (Nicholas G. Garaufis, Judge),
         Defendant Keith Raniere was convicted of numerous crimes related to
         his leadership of two organizations, a self-styled executive coaching
         and self-help organization called NXIVM and a secret society called
         DOS. On appeal, Raniere challenges his convictions for sex trafficking
         crimes, in violation of 18 U.S.C. § 1591. At the center of his appeal is
         the meaning of “commercial sex act,” which Section 1591 defines as
         “any sex act, on account of which anything of value is given to or
         received by any person.” 18 U.S.C. § 1591(e)(3). Raniere principally
         argues that to qualify as a “commercial sex act,” there must be a
         monetary or financial component to the “[]thing of value” that is given
         or received and the relevant sexual exploitation must be for profit. He
         contends that evidence the Government submitted at trial showing
         that individuals received benefits, such as privileged positions within
         an organization, are insufficient to sustain his sex trafficking
         convictions. We conclude that Section 1591 requires neither that a
         “[]thing of value” have a monetary or financial component nor that the
         sexual exploitation be conducted for profit. Accordingly, we AFFIRM
         the October 30, 2020 judgment as it concerns Raniere’s sex trafficking
         offenses: the sex trafficking conspiracy (Count 5), the sex trafficking of




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         Nicole (Count 6), the attempted sex trafficking of Jay (Count 7), and
         the racketeering act of sex trafficking of Nicole (Act 10A).




                                   TANYA HAJJAR, Assistant United States
                                   Attorney (Kevin Trowel, Assistant United
                                   States Attorney, on the brief), for Breon
                                   Peace, United States Attorney, Eastern
                                   District of New York, Brooklyn, NY, for
                                   Appellee United States of America.

                                   JOSEPH M. TULLY, Tully & Weiss Attorneys
                                   at Law, Martinez, CA (Jennifer Bonjean,
                                   Bonjean Law Group, PLLC, New York, NY,
                                   on the brief), for Defendant-Appellant Keith
                                   Raniere.




         JOSÉ A. CABRANES, Circuit Judge:

               After a six-week jury trial, Keith Raniere was convicted in the
         United States District Court for the Eastern District of New York
         (Nicholas G. Garaufis, Judge) of numerous counts related to his
         leadership of two organizations: a self-styled executive coaching and
         self-help organization called NXIVM and a secret society called
         “DOS,” an acronym for “Dominus Obsequious Sororium,” a phrase
         that roughly translates to “Lord/Master of the Obedient Female
         Companions.”     At trial, the Government presented evidence that




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         Raniere led both entities as pyramid organizations, and that he—
         alongside his “inner circle”—committed, attempted, or conspired to
         commit various crimes, including sex trafficking, forced labor, identity
         theft, wire fraud, racketeering, sexual exploitation of a minor,
         possession of child pornography, and obstruction of justice. During
         the lengthy trial, the Government also presented evidence that
         members of the organizations recruited and groomed sexual partners
         for Raniere, and that numerous women were coerced to engage in
         nonconsensual sexual acts with Raniere.

               On appeal, Raniere raises numerous challenges to his various
         convictions.   By summary order issued on the same day as this
         opinion, we dispose of most of Raniere’s arguments (along with the
         appeal of Raniere’s co-defendant, Clare Bronfman).            We write
         separately here to address Raniere’s arguments concerning his sex
         trafficking convictions under 18 U.S.C. § 1591.

               Raniere’s arguments turn on the meaning of “commercial sex
         act,” which the statute defines as “any sex act, on account of which
         anything of value is given to or received by any person.” 18 U.S.C.
         § 1591(e)(3). He principally argues that to qualify as a “commercial
         sex act,” there must be a monetary or financial component to the
         “[]thing of value” that is given or received, and the sexual exploitation
         must be for profit.     We conclude that the statute has no such




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         requirement. Accordingly, we AFFIRM the District Court’s judgment
         concerning his sex trafficking convictions. 2

                                        I. BACKGROUND 3

                 In or around 2003, Raniere founded an organization called
         NXIVM, a self-styled executive coaching and self-help organization.
         New members paid thousands of dollars to attend self-help
         workshops. NXIVM members referred to Raniere as “Vanguard.”

                 In 2015, Raniere created the secret society “DOS,” which was
         structured as a pyramid, with Raniere at the head, followed by first-
         line “masters” and their subordinate “slaves.” “Slaves” were expected
         to be obedient to their “masters.”




                 2 In particular, through this opinion, we AFFIRM his convictions for the sex
         trafficking conspiracy (Count 5), the sex trafficking of Nicole (Count 6), the
         attempted sex trafficking of Jay (Count 7), and the racketeering act of sex trafficking
         of Nicole (Act 10A).

                 3  Because Raniere appeals his convictions following a jury trial, we recite
         the facts from the trial evidence “in the light most favorable to the prosecution.”
         Musacchio v. United States, 577 U.S. 237, 243 (2016) (“The reviewing court considers
         only the ‘legal’ question ‘whether, after viewing the evidence in the light most
         favorable to the prosecution, any rational trier of fact could have found the essential
         elements of the crime beyond a reasonable doubt.’”) (quoting Jackson v. Virginia, 443
         U.S. 307, 319 (1979)); see also, e.g., United States v. Napout, 963 F.3d 163, 168 (2d Cir.
         2020) (noting that “[b]ecause appellants . . . appeal their convictions following a
         jury trial, we recount the facts viewing the evidence adduced in the district court in
         ‘the light most favorable to the government, crediting any inferences that the jury
         might have drawn in its favor’” (quoting United States v. Rosemond, 841 F.3d 95, 99–
         100 (2d Cir. 2016))).




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                  Apart from Raniere, all DOS members were women.               And
         Raniere’s identity as the head of DOS was initially concealed from
         newly recruited “slaves,” who were told that the organization was a
         “women’s-only secret society.”

                  DOS “masters” recruited slaves mostly from NXIVM and
         targeted women who were experiencing difficulties in their lives. To
         join, DOS recruits were required to provide “collateral” to prove their
         commitment to the organization.             “Collateral” took many forms,
         including sexually explicit photographs and videos of themselves,
         rights     to   financial   assets,   and   letters   containing   damaging
         accusations—whether true or untrue—about family members and
         friends.

                  DOS “slaves” were expected to provide their “masters” with
         services called “acts of care,” which included buying them groceries,
         editing videos, cleaning, and organizing. Each “slave” was expected
         to provide about an hour of work per week for her “master” as her
         “normal contribution.”         In some cases, “masters” assigned their
         “slaves” to engage in sexual conduct with Raniere and implied that
         collateral might be released if the salves refused. DOS “slaves” were
         also required to be branded with a symbol that, unbeknownst to them,
         consisted of Raniere’s initials.        During the branding ceremony,
         participants were normally required to be nude and to say, “Master[,]
         please brand me. It would be an honor, an honor that I want to wear
         for the [re]st of my life.”




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                 Allison Mack—a DOS “master” and one of Raniere’s co-
         defendants who pleaded guilty to racketeering and racketeering
         conspiracy—recruited Nicole 4 to join DOS as a “slave” in February
         2016.       As part of that process, Mack asked that Nicole provide
         “collateral.” Nicole provided a series of letters she wrote falsely
         alleging sexual abuse by her father and other damaging accusations,
         as well as a sexually explicit video of herself. She was later required
         to provide additional “collateral,” including credit card authorizations
         and the right to her grandmother’s wedding ring.

                 Mack subsequently “assigned” Nicole to contact Raniere and
         tell him that she would do “anything that he asked.” On May 31,
         2016—while Nicole and Mack were together in Mack’s house—
         Raniere called Mack, and Mack instructed Nicole to go outside so that
         Nicole would meet Raniere “across the grass” from the house’s
         backdoor. Raniere subsequently blindfolded Nicole, led her into a car,
         and drove her to a house. He then led Nicole—still blindfolded—
         through some trees and inside a building. There, he instructed her to
         undress and tied her to a table. Another person in the room, whose
         identity was unknown to Nicole, performed oral sex on Nicole. Nicole
         subsequently told Mack about the incident, and Mack called Nicole
         “really brave.”

                 Nicole had additional sexual encounters with Raniere during
         her time as a DOS “slave.” Mack regularly required Nicole and other


                 4The District Court ordered that during trial, certain witnesses were only to
         be referred to by first name or pseudonym.




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         “slaves” to pose for nude photographs, including close-up
         photographs of their genitalia. Nicole also performed uncompensated
         work for Mack, including transcribing tapes and reviewing articles.

               Mack also recruited another “slave,” India, who in turn
         recruited a second-order “slave” named Jay. Jay provided “collateral”
         to India, including a sex tape and a video describing abuse to which
         she was subjected as a child. She provided further “collateral” on a
         monthly basis.

               Jay was required to perform uncompensated services for Mack,
         including cleaning her house, doing her laundry, and picking up her
         groceries. She was also required to transcribe certain videos without
         compensation. In addition, Mack gave Jay a “special assignment” to
         “seduce” Raniere and “have him take a naked picture” of Jay; Jay
         understood this assignment to include having sex with Raniere. Jay
         refused to carry out the assignment and decided to leave DOS.

               After Raniere and several members of his “inner circle” were
         indicted, each of Raniere’s co-defendants pleaded guilty to various
         crimes. Following a six-week jury trial before Judge Garaufis, Raniere
         was convicted of: racketeering conspiracy (Count 1); racketeering
         (Count 2); forced labor conspiracy (Count 3); wire fraud conspiracy
         (Count 4); sex trafficking conspiracy (Count 5); sex trafficking of
         Nicole (Count 6); and attempted sex trafficking of Jay (Count 7). 5 In
         support of their guilty finding for Count 2, the jury found that the


               5   We refer to the counts as they appear on the verdict sheet.




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       Government had proved that Raniere had engaged in all of the alleged
       racketeering acts: four acts of conspiracy to commit identity theft, two
       acts of identity theft, conspiracy to unlawfully possess an
       identification document, two acts of sexual exploitation of a child,
       possession of child pornography, conspiracy to alter records for use in
       an official proceeding, trafficking for labor and services, document
       servitude, 6 extortion, sex trafficking of Nicole, and forced labor. 7 The
       District     Court     sentenced    Raniere      principally     to    120      years’
       imprisonment and a $250,000 fine.

                                      II. DISCUSSION

              We dispose of most of Raniere’s arguments on appeal in a
       summary order filed simultaneously herewith. We write separately in
       this opinion to address Raniere’s argument that a “commercial sex
       act”—statutorily defined as “any sex act, on account of which anything

              6   Document servitude occurs when one:

              knowingly destroys, conceals, removes, confiscates, or possesses
              any actual or purported passport or other immigration document,
              or any other actual or purported government identification
              document, of another person . . . to prevent or restrict or to attempt
              to prevent or restrict, without lawful authority, the person’s liberty
              to move or travel, in order to maintain the labor or services of that
              person, when the person is or has been a victim of a severe form of
              trafficking in persons.

       18 U.S.C. § 1592(a).
              7 The racketeering act of sex trafficking of Nicole was referred to on the
       verdict sheet as Act 10A.




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       of value is given to or received by any person,” 18 U.S.C. § 1591(e)(3)—
       must involve the exchange of monetary or financial benefits. We first
       address the statutory text before turning to Raniere’s specific
       challenges.

          A. “Commercial Sex Act”

             Congress enacted the statute at the center of this appeal, 18
       U.S.C. § 1591, as part of the Trafficking Victims Protection Act of 2000
       (“TVPA”), Pub. L. No. 106-386, 114 Stat. 1464 (2000). In passing the
       TVPA, Congress’s purpose was “to combat trafficking in persons, a
       contemporary      manifestation    of    slavery   whose     victims   are
       predominantly women and children, to ensure just and effective
       punishment of traffickers, and to protect their victims.” 22 U.S.C.
       § 7101(a).

             In relevant part, Section 1591 provides for punishment of any
       individual:

             (a) Who[] knowingly—

                     (1) in or affecting interstate or foreign commerce, . . .
                     recruits, entices, harbors, transports, provides, obtains,
                     advertises, maintains, patronizes, or solicits by any means
                     a person; or

                     (2) benefits, financially or by receiving anything of value,
                     from participation in a venture which has engaged in an
                     act described in violation of paragraph (1),




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              [while also] knowing[] . . . that means of force, threats of force,
              fraud, coercion . . . , or any combination of such means will be
              used to cause the person to engage in a commercial sex act, . . . .

       18 U.S.C. § 1591(a) (emphasis added).

              Section 1591 goes on to define a “commercial sex act” as “any
       sex act, on account of which anything of value is given to or received by
       any person.” Id. § 1591(e)(3) (emphasis added). The statute does not
       explicitly define the phrase “anything of value,” and the scope of that
       phrase is the subject of the present appeal.

              Raniere argues that Section 1591 “was designed to punish sexual
       exploitation for economic profit.”         Raniere’s Br. 23–24; see also
       Raniere’s Supp. Br. 9.       He therefore concludes that the phrase
       “anything of value,” as it is used in the statute, must mean “economic
       benefit[].” Raniere’s Br. at 24. We do not agree.

              We begin our analysis “with the statutory text, exhausting ‘all
       the textual and structural clues’ bearing on its meaning and construing
       each word ‘in its context and in light of the terms surrounding it.’”
       United States v. Bedi, 15 F.4th 222, 226 (2d Cir. 2021) (footnote omitted)
       (first quoting Wis. Cent. Ltd. v. United States, 138 S. Ct. 2067, 2074 (2018);
       then quoting Leocal v. Ashcroft, 543 U.S. 1, 9 (2004)). Where, as here, a
       phrase is “not defined by statute, we normally construe it in accord
       with its ordinary or natural meaning.” Smith v. United States, 508 U.S.
       223, 228 (1993). If we find that a phrase is unambiguous and is
       “coherent and consistent” with the statutory scheme, then “the inquiry
       ceases.” Friends of the E. Hampton Airport, Inc. v. Town of E. Hampton,




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       841 F.3d 133, 148 (2d Cir. 2016) (quoting Kingdomware Techs., Inc. v.
       United States, 579 U.S. 162, 171 (2016)); see also Matal v. Tam, 137 S. Ct.
       1744, 1756 (2017) (rejecting a proposed “resort to legislative history” as
       unpersuasive because a court’s “inquiry into the meaning of the
       statute's text ceases when ‘the statutory language is unambiguous and
       the statutory scheme is coherent and consistent’”) (quoting Barnhart v.
       Sigmon Coal Co., 534 U.S. 438, 450, 456 (2002)).

              We start with the prefix “any” in the phrase “anything of value.”
       “Read naturally, the word ‘any’ has an expansive meaning, that is, one
       or some indiscriminately of whatever kind.” Ali v. Fed. Bureau of
       Prisons, 552 U.S. 214, 219 (2008) (cleaned up). 8 Our understanding of
       “anything of value” is thus guided by the expansive meaning of “any.”
       See United States v. Cook, 782 F.3d 983, 988 (8th Cir. 2015) (“The phrase
       ‘anything of value’ [in Section 1591(e)(3)] is extremely broad.”). In
       addition, we observe that Congress’s definition of “commercial sex
       act”—“any sex act, on account of which anything of value is given to
       or received by any person,” 18 U.S.C. § 1591(e)(3) (emphases added)—
       uses the word or prefix “any” three times. Congress’s repeated use of
       the word “any” in its definition “commercial sex act” further supports

              8  In United States v. Gonzales, 520 U.S. 1 (1997), the Supreme Court
       “considered a provision [18 U.S.C. § 924(c)(1)] that imposed an additional sentence
       for firearms used in federal drug trafficking crimes and provided that such
       additional sentence shall not be concurrent with ‘any other term of imprisonment.’”
       Ali, 552 U.S. at 219 (quoting Gonzales, 520 U.S. at 4). “Notwithstanding the
       subsection's initial reference to federal drug trafficking crimes, [the Court] held that
       the expansive word ‘any’ and the absence of restrictive language left ‘no basis in
       the text for limiting’ the phrase ‘any other term of imprisonment’ to federal
       sentences.” Id. (quoting Gonzales, 520 U.S. at 5).




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       an expansive understanding of the specific phrase at issue here,
       “anything of value.”

             We have previously had occasion, albeit in other contexts, to
       consider the remainder of the phrase. We have clarified in those other
       contexts that the phrase “thing of value” “is generally construed to
       cover intangibles as well as tangibles.” United States v. Girard, 601 F.2d
       69, 71 (2d Cir. 1979). In Girard, we observed that all of the following
       are “things of value”: “amusement,” “[s]exual intercourse, or the
       promise of sexual intercourse,” “a promise to reinstate an employee,”
       “an agreement not to run in a primary election,” and “[t]he testimony
       of a witness.” Id. (citations omitted). And in United States v. Maneri,
       we held that the phrase “thing of value” includes intangibles,
       specifically “the opportunity for a sexual encounter, in return for
       distributing child pornography” in the context of the advisory
       Sentencing Guidelines for 18 U.S.C. § 2252. 353 F.3d 165, 168 (2d Cir.
       2003). Although the statutory phrase at issue here is “anything of
       value” and not a misspelled version, “any thing of value,” our earlier
       holdings on “thing of value” remain instructive. Indeed, adding the
       expansive prefix “any” onto “thing” only underscores our
       understanding that “anything of value” should be broadly understood
       to include intangibles. A “thing of value” as it appears in Section 1591
       may be intangible.

             Finally, and consistent with our expansive understanding of the
       phrase thus far, we interpret the word “value” to refer to “a subjective,
       rather than objective, concept.” Cook, 782 F.3d at 988 (quoting United
       States v. Petrovic, 701 F.3d 849, 858 (8th Cir. 2012)). Stated differently,




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       in the ordinary sense, we construe the word “value” to “focus . . . on
       the value which the [recipient] subjectively attaches to what is sought
       to be received.” Id. at 988–89 (quoting Petrovic, 701 F.3d at 858); see also
       United States v. Williams, 705 F.2d 603, 623 (2d Cir. 1983) (concluding
       that the phrase “anything of value,” as it is used in the bribery statute,
       18 U.S.C. § 201, “has consistently been given a broad meaning” and
       that the district court correctly construed the phrase “to focus on the
       value that the defendants subjectively attached to the items received”).
       This conforms with the dictionary definition of “value,” which
       includes “relative worth, utility, or importance.” 3 Webster’s Third
       New International Dictionary 2530 (1976).

              Bearing in mind these textual clues, we conclude that, as it is
       used in Section 1591, the phrase “anything of value” need not have a
       monetary or financial component.               Nothing in the statutory text
       indicates such a requirement, and in fact, a natural reading of the
       broad language used in Section 1591(e)(3) forecloses such a reading.
       Put another way, for purposes of the statute, monetary worth is not
       the sole measure of “value.” See United States v. Nilsen, 967 F.2d 539,
       543 (11th Cir. 1992) (discussing the phrase “thing of value” as it is used
       in 18 U.S.C. § 876). Accordingly, we hold that for sexual exploitation
       to be actionable under Section 1591, it need not have been conducted—
       as Raniere argues it must—for profit. 9


              9  A number of district courts within our Circuit have reached similar
       conclusions concerning Section 1591’s definition of “commercial sex act” in civil
       cases brought pursuant to 18 U.S.C. § 1595, which provides for a civil cause of action
       for violations of the TVPA. In these cases, courts have concluded that the statutory




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          B. Raniere’s Arguments

              Turning to Raniere’s specific arguments on appeal as they
       concern his sex trafficking convictions, we find none of them
       persuasive.

                   a. Challenges to the Jury Instruction

              Raniere first argues that the District Court erred in its
       instructions to the jury on the sex trafficking counts.

              “We review de novo a properly preserved challenge to a jury
       instruction, reversing where the charge, viewed as a whole, either
       failed to inform the jury adequately of the law or misled the jury about
       the correct legal rule.” United States v. Capers, 20 F.4th 105, 116 (2d Cir.
       2021) (quoting United States v. Binday, 804 F.3d 558, 581–82 (2d Cir.
       2015)). 10 “In reviewing a jury instruction, we ‘examine not only the
       specific language that the defendant challenges but also the
       instructions as a whole to see if the entire charge delivered a correct
       interpretation of the law.’” United States v. Al Kassar, 660 F.3d 108, 127




       phrase “anything of value” encompasses promises to help a person with career
       advancement. See, e.g., Eckhart v. Fox News Network, LLC, No. 20-CV-5593 (RA), 2021
       WL 4124616, at *9 (S.D.N.Y. Sept. 9, 2021); Ardolf v. Weber, 332 F.R.D. 467, 478
       (S.D.N.Y. 2019); Geiss v. Weinstein Co. Holdings LLC, 383 F. Supp. 3d 156, 168
       (S.D.N.Y. 2019); Canosa v. Ziff, No. 18-CV-4115 (PAE), 2019 WL 498865, at *22 n.26
       (S.D.N.Y. Jan. 28, 2019); Noble v. Weinstein, 335 F. Supp. 3d 504, 521 (S.D.N.Y. 2018).
              10 We assume without deciding that Raniere preserved the relevant
       challenges to the jury instructions below.




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       (2d Cir. 2011) (quoting United States v. Bala, 236 F.3d 87, 94–95 (2d Cir.
       2000)).

             The District Court instructed the jury on the “element” of sex
       trafficking as follows:

             The third element that the Government must prove is that the
             Defendant knew that Nicole would be engaged in a commercial
             sexual act. A commercial sexual act is any sex act of which anything
             of value is given to or received by any person because of such sex act.
             It is not required that the victim actually performed a
             commercial sex act as long as the Government has proved that
             the Defendant recruited, enticed, harbored, transported,
             provided, obtained, maintained, patronized or solicited the
             victim for purposes of engaging in commercial sex acts. A thing
             “of value” need not involve a monetary exchange and need not have
             any financial component. The phrase “any sex act” should be
             given its plain meaning and may include any act performed
             with another for sexual gratification.

       Jury Charge at 99–100, United States v. Mack, No. 18-CR-204 (NGG)
       (E.D.N.Y. June 18, 2019), ECF No. 728 (emphases added).

             Raniere’s initial objection is to the first italicized sentence above.
       In particular, he disputes the propriety of the District Court’s usage of
       the phrase “because of” and argues that the sentence should have read:
       “A ‘commercial sex act’ is any sex act on account of which anything of
       value is given to or received by any person.”            Defendant Keith
       Raniere’s Requests to Charge at 64, 86, Mack, No. 18-CR-204 (June 7,




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       2019), ECF No. 692-1 (emphasis added). He argues that the phrase
       “because of” “means only a ‘connection to’ or a proximate causational
       relationship to,” whereas “on account of” “underscores a quid pro quo.”
       Raniere’s Supp. Br. 18.

             We find no error in the District Court’s use of the term “because
       of.” Although the statute, 18 U.S.C. § 1591(e)(3), uses the phrase “on
       account of,” we find no meaningful difference between that phrase
       and “because of.” Raniere does not point to any authority supporting
       his view of the difference in meaning between “because of” and “on
       account of,” which we understand to be virtually indistinguishable.
       Indeed, in a different context, the Supreme Court has noted that “[t]he
       words ‘because of’ mean ‘by reason of: on account of.’” Gross v. FBL
       Fin. Servs., Inc., 557 U.S. 167, 176 (2009) (quoting 1 Webster’s Third
       New International Dictionary 194 (1966)). As a result, the District
       Court’s use of “because of” neither failed to inform the jury adequately
       of the law nor misled the jury about the correct legal rule.

             Raniere next challenges the second italicized sentence in the
       above jury instructions: “A thing ‘of value’ need not involve a
       monetary exchange and need not have any financial component.” He
       argues that a “commercial sex act” must involve the exchange of
       monetary of financial benefits. For the reasons stated in Section II.A
       of this opinion, ante, we reject his argument. As we have concluded,
       the phrase “anything of value” need not have a monetary or financial
       component, and the actionable sexual exploitation need not have been
       conducted for profit. The jury was neither misinformed nor misled




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       about the law. 11 Accordingly, we find no error in the District Court’s
       instruction.

                   b. Sufficiency-of-the-Evidence Challenge to the Sex
                      Trafficking Counts

              Next, Raniere challenges the sufficiency of the evidence
       presented against him at trial concerning his Section 1591 counts: sex
       trafficking conspiracy, sex trafficking of Nicole, and attempted sex
       trafficking of Jay.

              When preserved, we review claims of insufficient evidence de
       novo. Capers, 20 F.4th at 113. When hearing a sufficiency challenge on
       appeal, we make a “limited inquiry tailored to ensure that a defendant
       receives the minimum that due process requires: a ‘meaningful
       opportunity to defend’ against the charge against him and a jury
       finding of guilt ‘beyond a reasonable doubt.’” Musacchio v. United
       States, 577 U.S. 237, 243 (2016) (quoting Jackson v. Virginia, 443 U.S. 307,
       314–15 (1979)). “All that a defendant is entitled to on a sufficiency
       challenge is for the court to make a ‘legal’ determination whether the
       evidence was strong enough to reach a jury at all.” Id. at 244 (quoting
       Jackson, 443 U.S. at 319).




              11To the extent Raniere also contends that the second italicized sentence in
       the above jury instructions is duplicative because the first italicized sentence’s
       reference to “anything of value” already implied that the thing of value need not
       involve a monetary exchange or have any financial component, we fail to see how
       any potential redundancy misled the jury about the correct legal rule.




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             It is no surprise then that a defendant raising a sufficiency
       challenge “face[s] a heavy burden.” Capers, 20 F.4th at 113 (quoting
       United States v. Ho, 984 F.3d 191, 199 (2d Cir. 2020)). Indeed, “we must
       sustain the jury’s verdict if, crediting every inference that could have
       been drawn in the government’s favor and viewing the evidence in the
       light most favorable to the prosecution, any rational trier of fact could
       have found the essential elements of the crime beyond a reasonable
       doubt.” Id. (cleaned up). We “may enter a judgment of acquittal only
       if the evidence that the defendant committed the crime alleged is
       nonexistent or so meager that no reasonable jury could find guilt
       beyond a reasonable doubt.” Id. (quoting United States v. Atilla, 966
       F.3d 118, 128 (2d Cir. 2020)).

             In conducting our review, “[w]e must analyze the evidence in
       conjunction, not in isolation, and apply the sufficiency test to the
       totality of the government’s case and not to each element, as each fact
       may gain color from others.” Atilla, 966 F.3d at 128 (cleaned up). And
       “[w]e must credit every inference that the jury might have drawn in
       favor of the government, because the task of choosing among
       competing, permissible inferences is for the jury, not for the reviewing
       court.” Id. (cleaned up).

                        i. “Anything of Value”

             Raniere first argues that the Government failed to provide
       evidence that “anything of value” was received or given in connection
       with a sex act. We disagree.




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             The Government did in fact present evidence at trial that DOS
       “masters,” including Mack, obtained “things of value” in connection
       with assigning their DOS “slaves” to engage in sexual acts with
       Raniere. For example, the Government presented evidence that Mack
       was able to maintain and strengthen her privileged position in the
       DOS hierarchy because of the relationship between Raniere and one of
       Mack’s “slaves,” Nicole. The Government also presented evidence
       that Raniere set an expectation that DOS “masters” would receive
       approximately 40 hours of “work” per week from their various
       “slaves.”   Gov. App’x 235 (testimony of Lauren Salzman, one of
       Raniere’s co-conspirators who pleaded guilty to racketeering and
       racketeering conspiracy). Moreover, those “masters” who were able
       to recruit a sufficient number of “slaves” (and “slaves” of “slaves”)
       would qualify for a “special position” and receive “special privileges”
       from Raniere. Id. Furthermore, the Government presented evidence
       that Raniere authorized certain payments to Mack for her work as
       “head trainer” at the same time that Mack encouraged a “slave,” India,
       to “complete [an] assignment” involving “tak[ing] all her clothes off,
       while [Raniere was] clothed, pos[ing] in the most revealing way, and
       hav[ing Raniere] take a picture of her.” Id. at 1269, 1271 (emails
       between Raniere and Mack).

             Raniere argues that “[m]aintaining a spot in the first line” of
       DOS cannot constitute “anything of value” for purposes of Section
       1591. Id. at 1047 (Government counsel’s trial summation). But as
       discussed above, we reject the argument that only the exchange of
       things with monetary value can suffice for purposes of the statutory




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       definition of “commercial sex act.”     A privileged position in an
       organization may constitute intangible “value.” And indeed, here,
       evidence presented at trial demonstrated that the privileged position
       came with direct benefits, including free labor from the “slaves” who
       were expected to perform “acts of care” for their “masters.”

             The evidence regarding the giving or receiving of “anything of
       value” submitted at trial was neither nonexistent nor meager. We
       conclude that the evidence was strong enough to reach a jury and that
       Raniere was afforded at least “the minimum that due process
       requires.” Musacchio, 577 U.S. at 243. We therefore decline to disturb
       Raniere’s convictions on these counts. The Government did not fail to
       provide sufficient evidence that “anything of value” was received or
       given in connection with a sex act.

                      ii. “On Account of”

             Next, Raniere argues that even if things of value were given or
       received, they were not given or received “on account of” a sexual act.
       The Government presented evidence that on May 31, 2016, Raniere
       blindfolded Nicole, ordered her to undress, and tied her to a table,
       after which a third person performed oral sex on Nicole in Raniere’s
       presence.   Raniere argues that the Government failed to present
       evidence that Mack—Nicole’s “master”—received anything of value
       “on account of” the May 31, 2016 sexual act.

             In another context, the Supreme Court has interpreted the
       phrase “‘on account of’ to ”require[e] a causal connection between the
       term that the phrase ‘on account of’ modifies and the factor specified




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       in the statute . . . .”   Rousey v. Jacoway, 544 U.S. 320, 326 (2005)
       (interpreting 11 U.S.C. § 522(d)(10)(E)). Similarly, we interpret the
       statutory language in Section 1591(e)(3) to require a causal connection
       between the sexual act and the giving or receiving of anything of
       value.

                With that in mind, we conclude that Raniere’s sufficiency
       challenge lacks merit. At trial, the Government offered evidence from
       which a reasonable jury could have concluded that Mack’s receipt of
       various things of value were causally connected to her assigning her
       “slaves” to engage in sexual acts with Raniere, including the May 31,
       2016 incident. This included testimony that Mack directed Nicole “[t]o
       reach out to . . . Raniere,” which Nicole first did in April 2016 by email.
       Gov. App’x 747–48 (testimony of Nicole).          The Government also
       offered testimony that Nicole understood Mack’s relationship with
       Raniere to be the “most important relationship” to Mack, and that,
       accordingly, Nicole understood that it was “important to [Nicole’s]
       relationship with [Mack] to make [Raniere] happy” and that how
       Nicole “related to [Raniere] . . . reflected on [Mack].” Id. at 764–65
       (testimony of Nicole). Nicole understood that she needed to be “well
       behaved” in front of Raniere. Id. at 765. And Nicole kept Mack
       apprised of her relationship with Raniere, including by informing her
       of the May 31, 2016 incident.        Id. at 760. She further received
       encouragement from Mack to “make [Raniere’s] life easier.” Id. at 764.

                The Government’s evidence purporting to establish that Mack
       received things of value “on account of” her assigning “slaves” to
       engage in sexual acts with Raniere was neither nonexistent nor




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       meager. Based on this evidence, a reasonable jury could conclude that
       Mack’s privileged position in DOS was causally connected with her
       “assignment” of Nicole to Raniere for sexual purposes. As with the
       evidence that “anything of value” was received or given in connection
       with a sex act, the evidence relevant to whether Mack received things
       of value “on account of” her assigning “slaves” to engage in sexual
       acts with Raniere was strong enough to reach a jury.         Thus, we
       conclude that Raniere had a meaningful opportunity to defend
       himself.

                       iii. “Coercion”

              Finally, Raniere argues that there was no evidence that the
       sexual acts were “coerced” as required by 18 U.S.C. § 1591. The statute
       defines “coercion” to include “threats of serious harm,” 18 U.S.C.
       § 1591(e)(2)(A), and the statute in turn defines “serious harm” to mean:

              any harm, whether physical or nonphysical, including
              psychological, financial, or reputational harm, that is
              sufficiently   serious,   under   all   the   surrounding
              circumstances, to compel a reasonable person of the
              same background and in the same circumstances to
              perform or to continue performing commercial sexual
              activity in order to avoid incurring that harm.

       Id. § 1591(e)(5).

              Nicole testified that she felt that she had “[n]o choice” in
       complying with Mack’s instruction to “tell [Raniere] that [she] would




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       do anything that he asked [her] to do.” Gov. App’x 756 (testimony of
       Nicole). She further testified that she had submitted “collateral” to
       Mack in the form of, inter alia, letters implicating her family members
       in criminal activity, a sexually explicit video, and a letter about a
       prominent former romantic partner that could “ruin [Nicole’s] career.”
       Id. at 740. Nicole testified that she understood that breaking her
       “commitment” to DOS and her “master” would mean that her
       “collateral” would be released. Id. at 746.

             Once again, Raniere has failed to persuade us that there is
       insufficient evidence to sustain his convictions. Any rational trier of
       fact could have found coercion beyond a reasonable doubt.

                                   III. CONCLUSION

             To summarize: We hold that to qualify as a “commercial sex act”
       for purposes of 18 U.S.C. § 1591, the “[]thing of value” given or
       received need not have a monetary or financial component. Thus, for
       sexual exploitation to be actionable under Section 1591, it need not
       have been conducted for profit.

             For the foregoing reasons, and for the reasons explained in our
       summary order also entered today, we AFFIRM the District Court’s
       judgment of conviction entered on October 30, 2020, as it concerns the
       sex trafficking conspiracy (Count 5), the sex trafficking of Nicole
       (Count 6), the attempted sex trafficking of Jay (Count 7), and the
       racketeering act of sex trafficking of Nicole (Act 10A).




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 20-3520-cr (L)
 United States v. Raniere

                                UNITED STATES COURT OF APPEALS
                                   FOR THE SECOND CIRCUIT

                                        SUMMARY ORDER
 Rulings by summary order do not have precedential effect. Citation to a summary order
 filed on or after January 1, 2007, is permitted and is governed by Federal Rule of Appellate
 Procedure 32.1 and this Court’s Local Rule 32.1.1. When citing a summary order in a
 document filed with this Court, a party must cite either the Federal Appendix or an
 electronic database (with the notation “summary order”). A party citing a summary order
 must serve a copy of it on any party not represented by counsel.

        At a stated term of the United States Court of Appeals for the Second Circuit, held at
 the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York,
 on the 9th day of December, two thousand twenty-two.

 PRESENT:    GUIDO CALABRESI,
             JOSÉ A. CABRANES,
             RICHARD J. SULLIVAN,
                           Circuit Judges.
 _____________________________________


 UNITED STATES OF AMERICA,

                            Appellee,

                      v.                                                  20-3520-cr (L);
                                                                          20-3789-cr (Con)

 KEITH RANIERE, also known as Vanguard, and
 CLARE BRONFMAN,

                            Defendants-Appellants,

 ALLISON MACK, KATHY RUSSELL, LAUREN
 SALZMAN, and NANCY SALZMAN, also known
 as Prefect,

                            Defendants. *



      *
          The Clerk of Court is directed to amend the caption as set forth above.

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 _____________________________________

 FOR APPELLEE:                                              TANYA HAJJAR, Assistant United States
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                                                            States Attorney, on the brief), for Breon
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 FOR DEFENDANT-APPELLANT RANIERE:                           JOSEPH M. TULLY, Tully & Weiss
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                                                            Bonjean, Bonjean Law Group, PLLC,
                                                            New York, NY, on the brief).

 FOR DEFENDANT-APPELLANT BRONFMAN: RONALD S. SULLIVAN, JR., Ronald Sullivan
                                   Law PLLC, Washington, DC (Daniel R.
                                   Koffmann, Quinn Emanuel Urquhart, &
                                   Sullivan, LLP, New York, NY, on the brief).

         Appeal from judgments, entered October 7, 2020, and October 30, 2020, by the United
 States District Court for the Eastern District of New York (Nicholas G. Garaufis, Judge).

         UPON DUE CONSIDERATION WHEREOF, IT IS HEREBY ORDERED,
 ADJUDGED, AND DECREED that the October 7, 2020 and October 30, 2020 judgments of the
 District Court be and hereby are AFFIRMED.

         On March 13, 2019, a federal grand jury returned a Second Superseding Indictment
 (“Indictment”) charging Defendant Keith Raniere with, inter alia, racketeering, sex trafficking, and a
 forced-labor conspiracy involving multiple victims. The Indictment also charged Defendant Clare
 Bronfman and others with a number of related crimes.

         The Government alleged that Raniere was the founder of a self-styled executive coaching
 and self-help organization called NXIVM, and that Bronfman served on NXIVM’s executive board.
 It further alleged that Raniere maintained a rotating group of female NXIVM members with whom
 he had sexual relationships. These women were barred from both having sexual relationships with
 anyone but Raniere and disclosing their relationship with Raniere to others.

         As alleged, members of Raniere’s “inner circle” would recruit vulnerable members of
 NXIVM to a secret society called “DOS,” an acronym for “Dominus Obsequious Sororium,” a
 phrase that roughly translates to “Lord/Master of the Obedient Female Companions.” DOS was
 run as a pyramid organization, with Raniere on the top, followed by first-line “masters,” and then
 “slaves.” Apart from Raniere, all other DOS members were women. DOS “masters” would recruit
 “slaves” to the organization, who were required to deposit “collateral” to show their commitment to
 the organization in the form of, inter alia, sexually explicit photographs and videos depicting the

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 slaves in compromising positions, letters accusing loved ones of wrongdoing, and credit card
 authorizations. DOS “masters” would give their “slaves” assignments, which included
 uncompensated labor like buying groceries, cleaning, and organizing. DOS “masters” would also
 give their “slaves” assignments to engage in sexual acts with Raniere. DOS “slaves” who failed to
 comply with their “masters’” assignments risked the release of their “collateral.”

        Following a six-week jury trial, Raniere was convicted on all counts submitted to the jury. 1
 He now raises various challenges to his convictions. Separately, Bronfman—who pleaded guilty to
 two counts prior to the commencement of Raniere’s trial—brings a challenge to the procedural
 reasonableness of the District Court’s imposition of an 81-month sentence for her crimes.

         We assume the parties’ familiarity with the underlying facts, the procedural history of the
 case, and the issues on appeal. Raniere’s appeal as it concerns his convictions for sex trafficking,
 attempted sex trafficking, and sex trafficking conspiracy, in violation of 18 U.S.C. § 1591—including
 both his challenges to the relevant jury instructions and his sufficiency-of-the-evidence arguments—
 is addressed in an opinion entered this same day. We write separately here to address Raniere’s
 remaining claims as well as Bronfman’s appeal, and address each in turn.

                                      I. RANIERE’S APPEAL

    A. Sufficiency-of-the-Evidence Challenges

         Raniere first argues that insufficient evidence was presented to the jury to sustain his
 convictions for various counts. Where, as here, claims of insufficiency are preserved below, we
 review those claims de novo. United States v. Capers, 20 F.4th 105, 113 (2d Cir. 2021). A defendant
 challenging the sufficiency of the evidence at trial “face[s] a heavy burden because we must sustain
 the jury’s verdict if, crediting every inference that could have been drawn in the government’s favor



    1
       We refer to the counts as they appear on the verdict sheet: racketeering conspiracy (Count 1);
 racketeering (Count 2); forced labor conspiracy (Count 3); wire fraud conspiracy (Count 4); sex
 trafficking conspiracy (Count 5); sex trafficking of Nicole (Count 6); and attempted sex trafficking of
 Jay (Count 7). The jury found that the Government had proved all of the racketeering acts alleged
 on the verdict sheet: conspiracy to commit identity theft – Ashana Chenoa (Act 1A); conspiracy to
 unlawfully possess identification document (Act 1B); sexual exploitation of a child on November 2,
 2005 – Camila (Act 2); sexual exploitation of a child on November 24, 2005 – Camila (Act 3);
 possession of child pornography (Act 4); conspiracy to commit identity theft (Act 5A); identity theft
 – James Loperfido (Act 5B); identity theft – Edgar Bronfman (Act 5C); conspiracy to alter records
 for use in an official proceeding (Act 6); conspiracy to commit identity theft – Marianna (Act 7);
 trafficking for labor and services – Daniela (Act 8A); document servitude – Daniela (Act 8B);
 extortion (Act 9); sex trafficking – Nicole (Act 10A); forced labor – Nicole (Act 10B); and
 conspiracy to commit identity theft - Pamela Cafritz (Act 11).

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 and viewing the evidence in the light most favorable to the prosecution, any rational trier of fact
 could have found the essential elements of the crime beyond a reasonable doubt.” Id. (cleaned up).
 “A court may enter a judgment of acquittal only if the evidence that the defendant committed the
 crime alleged is nonexistent or so meager that no reasonable jury could find guilt beyond a
 reasonable doubt.” Id. (quoting United States v. Atilla, 966 F.3d 118, 128 (2d Cir. 2020)).

         We address Raniere’s numerous sufficiency claims below.

             a. Forced Labor and Forced Labor Conspiracy, in Violation of 18 U.S.C. § 1589
                (Count 3 and Racketeering Act 10B)

         In challenging the sufficiency of the evidence on the forced labor conspiracy charge (Count
 3) and the racketeering act of forced labor of Nicole (Act 10B), 2 Raniere argues (1) that the “acts of
 service” that Nicole conducted for Allison Mack were “isolated personal favors and kind gestures”
 that do not rise to the definition of “labor or services” used in the statute, 18 U.S.C. § 1589; and (2)
 that Nicole had “knowingly consented to these types of activities as part of her membership in
 DOS.” Raniere’s Br. 33. We find neither argument convincing.

         As to the first argument—that Nicole’s “acts of service” do not rise to the level of “labor or
 services” as that term is used in Section 1589—we begin by looking to the “ordinary meaning” of
 the statutory phrase “labor or services.” United States v. Marcus, 628 F.3d 36, 44 (2d Cir. 2010).
 Labor includes the “expenditure of physical or mental effort especially when fatiguing, difficult, or
 compulsory.” Id. at 44 n.10 (quoting Merriam-Webster’s Third New International Dictionary
 Unabridged (2002)). Here, evidence presented to the jury showed that DOS “slaves” were coerced
 into providing uncompensated work by the threat of the release of their “collateral.” In particular,
 the Government offered evidence at trial that Nicole provided uncompensated work for Mack,
 including transcribing tapes and reviewing articles. [Gov. App’x 786.] Thus, we conclude that “the
 plain meaning of the forced labor statute unambiguously applies to [Raniere’s] conduct.” Id. at 45.

         The second argument—that Nicole had consented to the labor—is also unconvincing. “The
 fact that [Nicole’s] enslavement arose from her initial participation in consensual [DOS] activities
 does not require” us to infer, much less conclude, that Nicole consented to all of the labor she
 subsequently undertook. See id. At trial, the Government presented evidence that Nicole was
 required to produce “collateral,” including in the form of sexually explicit videos of herself, letters in
 which she falsely accused her father of sexual abuse, and credit card authorization forms, which she
 feared would be released if she failed to comply with Mack’s directives. [Gov. App’x 738–40.]
 Upon review of the record, we conclude that the jury was presented with ample evidence showing


     2
      The District Court ordered that during trial, certain witnesses only be referred to by first name
 or pseudonym. We address the propriety of the District Court’s order post.

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 that Nicole’s labor was nonconsensual. There is therefore no basis for overturning the forced labor
 or forced labor conspiracy convictions.

             b. Sexual Exploitation of a Child, in Violation of 18 U.S.C. § 2251 (Racketeering
                Acts 2 and 3)

          Raniere argues that the Government failed to prove the racketeering acts of child
 exploitation of Camila (Racketeering Acts 2 and 3), principally pointing to the fact that Camila did
 not testify at trial. Raniere argues that, at most, his possession of explicit photographs dated
 November 2, 2005 and November 24, 2005 shows that he was guilty of mere possession of child
 pornography. He argues that no evidence was presented specifically showing that he “employ[ed],
 use[d], persuade[d], induce[d], entice[d], or coerce[d]” Camila to engage in sexually explicit conduct,
 in violation of 18 U.S.C. § 2251. See Raniere’s Br. 36–37.

         We do not agree. Even without Camila’s testimony, the jury was presented with ample
 evidence showing that Raniere began sexually abusing Camila in September 2005. See, e.g., Gov.
 App’x 710-1–10-4, 1171, 1268 (emails and text messages between Camila and Raniere referring to
 the beginning of their sexual relationship as around September 2005); Gov. App’x 416–17
 (testimony from Daniela that she had spoken to Raniere about his sexual relationship with Camila at
 some point before the fall of 2006). Moreover, the jury was shown messages between Camila and
 Raniere specifically referencing Raniere’s creation and possession of the November 2005
 photographs. See, e.g., Gov. App’x 1173. And the electronic folder containing the photographs of
 Camila also contained nude photographs of other women with whom Raniere had a
 contemporaneous sexual relationship. In sum, the jury was presented with sufficient evidence to
 conclude beyond a reasonable doubt that Raniere was guilty of sexually exploiting Camila.

             c. Conspiracy to Alter Records for Use in an Official Proceeding, in Violation of
                18 U.S.C. § 1512(c)(1) (Racketeering Act 6)

          Next, Raniere argues that the Government did not prove the existence of a conspiracy to
 alter records for use in an official proceeding (Act 6). He concedes that the Government offered
 evidence that Mark Vincente, one of Raniere’s alleged co-conspirators, altered or arranged for the
 alteration of certain video tapes—which were produced in discovery as part of a federal civil action,
 NXIVUM Corp., et al., v. Ross Institute, et al., No. 06-CV-1051 (D.N.J.)—at Raniere’s direction.
 Raniere’s Br. 40. But he argues that the Government did not provide sufficient evidence to prove
 that Vicente acted with the requisite intent. We disagree.

         For the Government “to satisfy the element of intent,” it “must show a ‘nexus’ between the
 defendant’s act and the judicial proceedings; that is, there must be ‘a relationship in time, causation,
 or logic’ such that the act has ‘the natural and probable effect of interfering with the due
 administration of justice.’” United States v. Desposito, 704 F.3d 221, 230 (2d Cir. 2013) (quoting United

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 States v. Aguilar, 515 U.S. 593, 599–600 (1995)). At trial, Vincente testified that he knew the deleted
 content of the tapes would have been damaging to NXIVM in an ongoing “legal action” and that he
 understood the alteration of the videos to be “illegal.” Gov. App’x 178–79, 182. The jury was thus
 presented with sufficient evidence to conclude that the intent element was satisfied.

             d. Identity Theft Conspiracy, in Violation of 18 U.S.C. § 1028 (Racketeering Act
                11)

          Raniere also challenges the sufficiency of the Government’s evidence as to Racketeering Act
 11, which charged Raniere with conspiring to commit identity theft in connection with tax evasion,
 in violation of 18 U.S.C. § 1028(a)(7) and 1028(f). In particular, the Government charged Raniere
 with using the credit card of Pamela Cafritz—his long-term partner who had since died—in order to
 evade his tax obligations. [Gov. App’x 17.] Raniere argues that the Government offered no
 evidence that he had a substantial tax debt or that he ever failed to pay his taxes, as required to
 prove a substantial violation of the tax evasion statute. Raniere’s Br. 43–44; see also United States v.
 Litwok, 678 F.3d 208, 215 (2d Cir. 2012) (listing elements of a substantive violation of 26 U.S.C. §
 7201).

          Raniere misapprehends the import of the identity theft statute. Section 1028 prohibits
 “knowingly . . . us[ing], without lawful authority, a means of identification of another person with
 the intent to commit, or to aid or abet, or in connection with, any unlawful activity that constitutes a
 violation of Federal law . . . .” 18 U.S.C. § 1028(a)(7) (emphasis added). As the District Court
 explained in its jury instructions, “the Government does not need to prove that [Raniere] or a co-
 conspirator actually committed tax evasion.” Jury Charge at 108, United States v. Mack, No. 18-CR-
 204 (NGG) (E.D.N.Y. June 18, 2019), ECF No. 728. Upon review of the record, we conclude that
 the Government offered sufficient evidence from which the jury was able to conclude that Raniere
 entered into a conspiracy to use Cafritz’s credit card with the intent to commit, or to aid or abet, or
 in connection with, tax evasion. 3

             e. Racketeering and Racketeering Conspiracy, in Violation of 18 U.S.C. § 1962(c)
                (Counts 1 and 2)

        Finally, Raniere argues that his conviction for a racketeering conspiracy (Count 1) and
 substantive racketeering (Count 2) cannot be sustained because (1) there was insufficient evidence



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       To the extent Raniere also contends that there was not sufficient evidence for the jury to find
 that he acted without lawful authority when using Cafritz’s credit card because he was the executor
 and sole beneficiary of Cafritz’s estate, see Raniere Br. 42, we are unpersuaded. Raniere does not
 present a developed argument explaining why being the executor and beneficiary of an estate gives
 one lawful authority to use a deceased person’s credit card.

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 that Raniere’s “inner circle” constituted an enterprise for RICO purposes and (2) the Government
 failed to demonstrate a “pattern” of related racketeering activities as opposed to isolated and
 sporadic offenses. Raniere’s Br. 15–16. We are not convinced by either argument.

         The RICO statute prohibits persons “employed by or associated with any enterprise . . . to
 conduct or participate . . . in the conduct of such enterprise’s affairs through a pattern of
 racketeering activity . . . .” 18 U.S.C. § 1962(c).

         Raniere first argues that there was insufficient evidence that Raniere’s “inner circle” was an
 “enterprise” for RICO purposes. In particular, he argues that the “inner circle” did not share a
 “common purpose” other than a vague commitment and loyalty to Raniere. Raniere’s Br. 47–48.
 But the Indictment alleges that the purpose of the enterprise was “to promote [Raniere] . . . and to
 recruit new members into the Pyramid Organizations [i.e., NXIVM and DOS],” whereby existing
 members of the enterprise “expected to receive financial opportunities and personal benefits,
 including increased power and status within the Enterprise.” Gov. App’x 2–3, ¶ 4 (emphasis added).
 The Government presented evidence at trial that members of the enterprise recruited members into
 Raniere’s organizations and received such benefits. [See, e.g ., Gov. App’x 198.]

            To the extent that Raniere objects to the informal nature of the “inner circle’s” membership,
 see, e.g., Raniere’s Br. 49 (arguing that the inner circle “was nothing more than a hodgepodge of
 people from a wider community”), the Supreme Court has rejected the argument that RICO
 enterprises must have formal membership or structural requirements, instead emphasizing the
 “breadth of the ‘enterprise’ concept in RICO.” Boyle v. United States, 556 U.S. 938, 948–49 (2009); see
 also 18 U.S.C. § 1961(4) (defining enterprise as including “any . . . group of individuals associated in
 fact although not a legal entity”); United States v. Eppolito, 543 F.3d 25, 49 (2d Cir. 2008) (“An
 ‘individuals associated in fact’ enterprise, 18 U.S.C. § 1961(4), may continue to exist even though it
 undergoes changes in membership.”). Upon review of the record, we are satisfied that the evidence
 presented at trial established that the “inner circle” was an enterprise for purposes of the RICO
 statute.

          Next, Raniere argues that the Government failed to establish a “pattern of racketeering
 activity” as that term is used in Section 1962(c). The statute requires that there be “at least two acts
 of racketeering activity” within ten years. 18 U.S.C. § 1961(5). “[C]riminal conduct forms a pattern
 of racketeering activity under RICO when it ‘embraces criminal acts that have the same or similar
 purposes, results, participants, victims, or methods of commission, or otherwise are interrelated by
 distinguishing characteristics and are not isolated events.’” United States v. Daidone, 471 F.3d 371, 375
 (2d Cir. 2006) (quoting H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 240 (1989)). Relatedness includes
 both horizontal relatedness—that the predicate acts are related to each other—and vertical
 relatedness—that the predicate acts are related to the enterprise. Id. “[B]oth the vertical and
 horizontal relationships are generally satisfied by linking each predicate act to the enterprise.” Id. at
 376.

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          Here, the evidence presented at trial permitted the conclusion that the eleven predicate acts
 listed in the Indictment were linked to the enterprise. In arguing otherwise, Raniere arbitrarily
 groups the eleven predicate acts into three sub-groups: (1) the DOS Acts (Acts 9 and 10); (2) the
 sexual exploitation and possession of child pornography of Camila (Acts 2, 3, and 4); and (3) non-
 DOS Acts (Acts 1, 5, 6, 7, 8, and 11). Raniere’s Br. 55–63. But this grouping does not defeat the
 conclusion that each of these acts was linked to the enterprise. See United States v. Burden, 600 F.3d
 204, 216 (2d Cir. 2010) (“Horizontal relatedness requires that the racketeering predicate acts be
 related to each other. However, that relationship need not be direct; an indirect relationship created
 by the relationship of each act to the enterprise will suffice.” (citing United States v. Polanco, 145 F.3d
 536, 541 (2d Cir. 1998))). In sum, we find that there was sufficient evidence presented at trial to
 sustain Raniere’s RICO convictions.

     B. Rule 403 Challenges

         Raniere next challenges the District Court’s decision to allow the introduction of three
 categories of evidence: (1) communications between Raniere and Camila; (2) evidence that Camila,
 Daniela, and Marianna had abortions after being impregnated by Raniere; and (3) photographs of
 women’s genitalia taken by Raniere. [Raniere’s Br. 64.] He argues that these materials should have
 been excluded as unduly prejudicial under Federal Rule of Evidence 403. We disagree.

          Rule 403 allows a court to “exclude relevant evidence if its probative value is substantially
 outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,
 misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” We
 have frequently noted that we review a district court’s balancing under Rule 403 for abuse of
 discretion. See, e.g., United States v. Polouizzi, 564 F.3d 142, 152 (2d Cir. 2009). “The ‘decision to
 admit or exclude evidence will not be overturned unless we conclude that the court acted arbitrarily
 or irrationally.’” Id. (quoting United States v. Thai, 29 F.3d 785, 813 (2d Cir. 1994)).

             a. Communications Between Raniere and Camila

        Raniere first challenges the admission of WhatsApp messages between Raniere and Camila,
 which he argues were of minimal probative value, contained “gratuitous sexually-graphic
 conversations,” and portrayed Raniere as “manipulative, controlling[,] and emotionally abusive.”
 Raniere’s Br. 68, 71. But as Raniere himself acknowledges, the communications are “relevant to
 support the [G]overnment’s claim that [Raniere] began a sexual relationship with Camila when she
 was 15 years old and that [he] was the architect of DOS.” Id. at 71 (citation omitted). These
 communications were highly probative of Raniere’s relationship with Camila, whom the
 Government argued was both a victim of Raniere’s child exploitation and a “slave” in DOS.




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 Accordingly, the District Court’s decision to admit these communications was far from “arbitrar[y]
 or irrational[].” Polouizzi, 564 F.3d at 152 (quoting Thai, 29 F.3d at 813). 4

            b. Abortion Evidence

         Raniere next challenges the District Court’s decision to admit evidence—in the form of
 testimony, medical records, and ultrasound images—that Daniela, Camila, and Marianna had
 obtained abortions, arguing that such evidence was prejudicial, cumulative, and minimally probative.
 Raniere’s Br. 74. But the abortion material was probative of Raniere’s sexual relationship with
 Camila when she was a minor and to show that Cafritz—who was a member of the charged
 enterprise and helped procure the abortions—facilitated the abuse of Camila and Daniela. We see
 no error in the District Court’s decision to admit the abortion evidence.

            c. Photographs of Women’s Genitalia

         Finally, Raniere challenges the District Court’s decision to admit 167 photographs of
 women’s genitalia recovered from a hard drive also containing explicit images of Camila taken when
 she was a minor. He argues that the evidence was cumulative and highly prejudicial. Raniere’s Br.
 78. But elsewhere, Raniere argues that the existence of explicit images of Camila on the hard drive is
 not sufficient to establish that it was Raniere who took the photographs of Camila. See id. at 35.
 Thus, even he must concede that the “timeframe in which the . . . photos w[ere] taken shed[s] some
 light on the question of whether [Raniere] was responsible for taking the Camila photos.” Id. at 77.
 The existence of the photographs of other women’s genitalia—women with whom Raniere had a
 contemporaneous sexual relationship—was probative of whether Raniere had taken the
 photographs of Camila and whether he had had a sexual relationship with her while she was a
 minor. The District Court did not err in deciding to admit the evidence.

    C. Other Trial-Related Challenges

        Raniere also raises two separate challenges concerning trial orders. We address each below.

            a. Prohibition on the Use of Full Names

        Prior to the commencement of trial, upon motion by the Government, the District Court
 ordered that “testifying victims” were to be identified by “a nickname, first name, or pseudonym
 only” and that “non-testifying DOS victims” were to be “referred to solely by first name or


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      The Government argues that Raniere’s objections to the WhatsApp messages were not raised
 below and should therefore be evaluated for plain error only. We need not decide whether or not
 Raniere’s objections were preserved because, even if they were, we conclude that the District Court
 did not abuse its discretion in admitting the evidence.

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 nickname” during trial. Memorandum & Order at 40, Mack, No. 18-CR-204 (May 6, 2019), ECF
 No. 622. Raniere argues that this decision violated his rights under the Confrontation Clause of the
 Sixth Amendment and his due process rights under the Fifth Amendment. [Raniere’s Br. 85–86.]
 We disagree.

          A defendant’s constitutional right to confront witnesses includes the right to “ask the
 witness who he is and where he lives,” because, “when the credibility of a witness is in issue,” these
 questions are “the very starting point in ‘exposing falsehood and bringing out the truth’ through
 cross-examination.” Smith v. State of Illinois, 390 U.S. 129, 131 (1968) (quoting Pointer v. Texas, 380
 U.S. 400, 404 (1965)); see also Alford v. United States, 282 U.S. 687, 689 (1931). The Second Circuit has
 explained that there are “two central interests” safeguarded by Smith and Alford. “First, the defense
 needs testimony as to a witness’ [identity] on cross-examination so that the defense can obtain this
 information which may be helpful in investigating the witness out of court or in further cross-
 examination.” United States v. Marti, 421 F.2d 1263, 1266 (2d Cir. 1970). “Second, the defense may
 need the witness to reveal his address [or other identifying information] in court because knowledge
 of the [identifying information] by the jury might be important to its deliberations as to the witness’
 credibility or his knowledgeability.” Id.

          That said, a district court’s decision to limit the scope of cross-examination is reviewed for
 abuse of discretion. United States v. White, 692 F.3d 235, 244 (2d Cir. 2012). Trial judges have “wide
 latitude . . . to impose reasonable limits on such cross-examination based on concerns about, among
 other things, harassment, prejudice, confusion of the issues, the witness’ safety, or interrogation that
 is repetitive or only marginally relevant.” Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986). And
 “[e]ven if a reviewing court finds error, a new trial is not required if the error was harmless.” White,
 692 F.3d at 244.

          Here, in granting the Government’s request to prohibit the use of full names, the District
 Court reasoned that requiring victims to provide their names in public “could chill their willingness
 to testify, for fear of having their personal histories publicized.” Memorandum & Order at 32,
 Mack, No. 18-CR-204 (May 6, 2019), ECF No. 622. It also found that Raniere failed to present a
 particularized need for the witnesses’ last names to be disclosed, since he already knew the identity
 of the individuals and could articulate no reason why disclosing last names would help the jury
 assess the witnesses’ credibility. As for Raniere’s contention that the withholding of the witnesses’
 last names bolstered their credibility by effectively endorsing their status as victims, the District
 Court correctly addressed this concern with an appropriate jury instruction. Id. at 32–34. 5 Under


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       During trial, the District Court instructed the jury that it should “not make any inferences as to
 the defendant’s guilt or non-guilt from the fact that certain last names are being withheld from [the
 jury] and the public.” Gov. App’x 112; see also United States v. Reichberg, 5 F.4th 233, 244 (2d Cir.
 2021) (“We presume that juries follow limiting instructions.”) (cleaned up).

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 these circumstances, where neither of Marti’s two “central interests” are implicated, the District
 Court’s decision was justified, and we see no error in it. 421 F.2d at 1266; see also Marcus, 628 F.3d
 at 45 n.12 (rejecting a similar challenge to a lower court’s “decision permitting two of the
 Government’s witnesses to testify using only their first names” on due process grounds).

             b. Termination of Cross-Examination

           Raniere also argues that the District Court’s improperly terminated Lauren Salzman’s cross-
 examination, again allegedly violating his Sixth Amendment right to confront his accuser and his
 Fifth Amendment right to due process. We conclude that—even assuming the District Court erred
 in its termination of the cross-examination—any such error was harmless.

         During the lengthy cross-examination of Lauren Salzman—a cooperating Government
 witness who had previously pleaded guilty to racketeering charges—the District Court ordered that
 the cross-examination end, saying in front of the jury: “[t]hat’s it. We are done.” Gov. App’x 396.
 After the jury was excused, defense counsel objected and the District Court explained that counsel
 had gone “way over the line,” and that he “kept coming back” to a line of questions concerning
 whether Lauren Salzman had actually had the requisite mental state to have committed the crimes to
 which she had pleaded guilty. Id. The District Court explained that it would not tolerate “someone
 hav[ing] a nervous breakdown on the witness stand,” noted that Lauren Salzman was “a broken
 person,” and expressed concern over Lauren Salzman’s “composure.” Id. at 396–97.

         Here, any arguable error was harmless. Raniere vaguely asserts that he was precluded from
 crossing Lauren Salzman on a range of topics, including: (1) the impact of her potential jail term on
 her decision to cooperate; (2) “certain other facts” she learned in discovery that caused her to
 change her view of Raniere and DOS; (3) “certain specific portions” of recordings she heard of
 meetings between Raniere and other DOS members; and (4) “other aspects” of her plea agreement
 and her cooperation. Raniere’s Br. 81. But Raniere fails to provide any further detail about these
 potential questions or explain how the inability to address them—after an already lengthy cross-
 examination that included many questions on related topics—deprived him of his ability to test the
 veracity of Lauren Salzman’s testimony. See, e.g., United States v. Stewart, 433 F.3d 273, 313 (2d Cir.
 2006).

         Furthermore, after the District Court terminated counsel’s cross-examination of Lauren
 Salzman and at the close of the Government’s case-in-chief, the Government stated—and Raniere’s
 counsel confirmed—that the Government had “offered to the defense to make any of its witnesses
 available” to testify at Raniere’s case-in-chief, “including Lauren Salzman,” and that Raniere had not
 elected to avail himself of that opportunity and declined to put on a case. Gov. App’x 976. Under
 these particular circumstances, we conclude Raniere “suffered no harm” from the District Court’s
 prior decision to cut off Lauren Salzman’s cross-examination. Cf. United States v. Barbarino, 612 F.
 App’x 624, 627 (2d Cir. 2015) (summary order) (concluding that any error in limiting defendant’s

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 cross examination of a witness was harmless where “[t]he Government offered to make [the witness]
 available for further cross-examination by telephone” and “Barbarino has not identified other
 questions he was prevented from asking on cross-examination”).

                                    II. BRONFMAN’S APPEAL

         On April 19, 2019, Bronfman pleaded guilty to two counts: (1) conspiracy to conceal,
 harbor, and shield from detection one or more aliens for financial gain, in violation of 8 U.S.C.
 § 1324(a)(1)(A)(v)(I) and (a)(1)(B)(i); and (2) unlawful transfer and use of a means of identification of
 another person with the intent to commit and in connection with attempted tax evasion, in violation
 of 18 U.S.C. § 1028(a)(7), 1028(b)(1)(D), and 1028(c)(3)(A). At sentencing, the District Court
 determined that the applicable advisory Guidelines sentencing range was 21 to 27 months’
 imprisonment and imposed a sentence of, inter alia, 81 months’ imprisonment. Bronfman now
 argues that the District Court committed procedural error.

          We review a district court’s imposition of a sentence under a “deferential abuse-of-discretion
 standard.” United States v. Cavera, 550 F.3d 180, 189 (2d Cir. 2008) (en banc) (quoting Gall v. United
 States, 552 U.S. 38, 41 (2007)); see also In re Sims, 534 F.3d 117, 132 (2d Cir. 2008) (describing the
 abuse-of-discretion standard). The imposition of a sentence outside of the advisory Guidelines
 range does not alter the standard of review. Gall, 552 U.S. at 49. At root, we evaluate the sentence
 imposed for “reasonableness,” a concept which includes “the procedures used to arrive at the
 sentence (procedural reasonableness) . . . .” United States v. Broxmeyer, 699 F.3d 265, 278 (2d Cir.
 2012). Procedural error includes “failing to calculate (or improperly calculating) the Guidelines
 range, treating the Guidelines as mandatory, failing to consider the § 3553(a) factors, selecting a
 sentence based on clearly erroneous facts, or failing to adequately explain the chosen sentence.”
 Gall, 552 U.S. at 51.

          Bronfman principally argues that the District Court committed procedural error by relying
 on a “clearly erroneous finding”—namely that Bronfman was aware of, or willfully blind to,
 Raniere’s abuses in DOS. Bronfman’s Br. 22. We disagree. The District Court explicitly stated that
 it “agree[d] with Ms. Bronfman that the available evidence does not establish that she was aware of
 DOS prior to June 2017 6 or that she directly or knowingly funded DOS or other sex trafficking
 activities.” Sp. App’x 104. It acknowledged, however, that her “crimes were not committed in a
 vacuum.” Id. And it found “most troubling” that when, in 2017, Bronfman was “confronted with
 information about DOS . . . she doubled down on her support of Raniere and pursued her now
 familiar practice of attacking his critics.” Id. at 118–19. The District Court referred to a December


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       The District Court concluded that, at the latest, Bronfman learned of the existence of DOS in
 June 2017, when she received emails from former DOS “slaves” who asked her to return or destroy
 their digital “collateral.” Sp. App’x 104. No party disputes this fact.

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 2017 public statement that Bronfman released in which “she falsely characterized DOS as a
 ‘sorority’ that ‘truly benefited the lives of its members.’” Id. at 122–23. And it discussed
 Bronfman’s contribution of $13.8 million to an irrevocable trust to pay for the legal fees of Raniere
 and her other co-defendants. Id. at 124. It is in this context that the District Court stated that
 Bronfman had a “pattern of willful blindness when it comes to Raniere and his activities,” and that
 although Bronfman may not have known of DOS before 2017, “she did not want to know either.”
 Id. at 125–26. A full reading of the District Court’s lengthy statement (which covers thirty pages of
 the transcript) shows that it was primarily concerned with Bronfman’s actions after she found out
 about DOS in June 2017, including her reinvigorated support of Raniere.

          Bronfman also argues that the District Court ignored disparities between her sentence and
 the sentences imposed on her co-defendants—Mack, Lauren Salzman, and Kathy Russell—in
 violation of 18 U.S.C. § 3553(a)(6). Section 3553(a)(6) requires a district court to consider “the need
 to avoid unwarranted sentence disparities among defendants with similar records who have been
 found guilty of similar conduct.” But as we have made clear, while “[S]ection 3553(a)(6) requires a
 district court to consider nationwide sentence disparities,” it “does not require a district court to
 consider disparities between co-defendants.” United States v. Ghailani, 733 F.3d 29, 55 (2d Cir. 2013)
 (quoting United States v. Frias, 521 F.3d 229, 236 (2d Cir. 2008)). In any event, Bronfman’s
 conduct—before and after her indictment—readily distinguishes her from Mack, Salzman, and
 Russell, two of whom cooperated with the Government and received sentencing reductions
 pursuant to 18 U.S.C. § 3553(e).

           Finally, Bronfman argues that even compared to defendants nationwide, her 81-month
 sentence was excessive. She points to certain statistics showing that of 27 defendants convicted of
 both 8 U.S.C. § 1324 and 18 U.S.C. § 1028 offenses nationwide, none received an above-Guidelines
 sentence. Bronfman’s Br. 27. She has filed a motion to supplement the record with the reports she
 relied on in arriving at that conclusion, ECF No. 183, and that motion is hereby GRANTED. Even
 so, as the District Court pointed out, “the context of Ms. Bronfman’s criminal conduct places her in
 an[] all together different category from other defendants convicted of the same offenses.” Sp.
 App’x 129. Upon review of the record, including the material contained in ECF No. 183 and its
 supporting documents, we find that the District Court acted well within its discretion in arriving at
 its conclusion.

                                         III. CONCLUSION

        To summarize:

        (1) Bronfman’s motion to supplement the record, ECF No. 183, is hereby GRANTED.
        (2) Having considered all of Bronfman’s remaining arguments and found them to be
            without merit, for the foregoing reasons, we AFFIRM the October 7, 2020 judgment of
            the District Court.

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       (3) Having considered all of Raniere’s remaining arguments and found them to be without
           merit, for the foregoing reasons, and for the reasons explained in our opinion also
           entered today—affirming the District Court’s judgment of conviction entered on
           October 30, 2020 as it concerns the sex trafficking conspiracy (Count 5), the sex
           trafficking of Nicole (Count 6), the attempted sex trafficking of Jay (Count 7), and the
           racketeering act of sex trafficking of Nicole (Act 10A)—we AFFIRM all other portions
           of the October 30, 2020 judgment of the District Court, including, but not limited to, the
           racketeering conspiracy (Count 1), the racketeering (Count 2), the sexual exploitation of
           a child – Camila (Acts 2 and 3), the conspiracy to alter records for use in an official
           proceeding (Act 6), the forced labor of Nicole (Act 10B), the conspiracy to commit
           identity theft of Pamela Cafritz (Act 11), and the forced labor conspiracy (Count 3).




                                                      FOR THE COURT:
                                                      Catherine O’Hagan Wolfe, Clerk of Court




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